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                                        U.S. District Court
                                    Eastern District ofVirginia
                      Case Name; Williams v. Smithfield Foods (North Plant)
                             Case Number: 2:16-CV-00217-AWA-RJK
                                      Action No.: 2;16CV217

                                  amendent to complaint


1.   MakingFalse statement against me and filing through willitheEEOC
     Jobpafonnance: Assesses whether aperson performs ajob weU
     The words job performance and others like it appear in Exhibit SF        ^^
       h        First ofaU, my job title is Knife Sharpening and not productiOT clok. Mr. Joe
     Mouhon named us ofhis own choice, which Ifeel he had no ri^tto do so, bec^ my
     pay check stated Knife Sharpening. Iam aprofessional I^e sh^er. ^™
     Cozzini Inc. Bemg at Smithfield for 38 years, 18 years ofusmg knives and 20 years of
     sharpening knives, makes me very aware ofmy job perfc^ance. From the safety aspect
     to breaking down and repairing the machines. Exhibit _4— ^            ^      glwe tlmt
     Iknow could cause me to get hurt, which the type ofglove that was given to me, affected
     me from doing myjob well.

      Exhibit          is about alocker clean-out, which never took place on that day, has
      nothing to do with the performance ofme producing ttie best sharp knife possible.
      Exhibit J)         makes mention ofakey, which I paid for, had nothing to do witii my job
      performance.

      Numerous ofimtrue statements have been said about me. The only write-i^s are the ones
      JoeMoulton did. Out of about 5 to 7 former supervisors thatwe've been under, Joe
      Moulton is the only one who wrote us up. Giving false information can be damaging, if
      it is not corrected.
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                                X. HARASSMENT


The Harassment started by Joe Moulton as follows:

   1. The harassment started after the January 16, 2015 write-up of an oral warning for not
      wearing safety gloves. (See Exhibit ^          from Smithfield Foods)

   2. Why being harassed?
         a.   I believed the harassment started because when Mr. Joe Moulton took me to
              Human Resources saying that I violated a safety rule for not having on safety
              gloves. 1 asked Angela in Human Resources, "Why is it that safety rules only
              apply to the employees and not management." She asked, "Why?" in front of
              Joe and 1 told Angela, "Joe was taking old knives out of the throw-away bin
              with his bare hands when he should have had on safety gloves and this
              happened about 5-mintues after he said something to me about not wearing
              safety gloves"; he got upset about it. (See Exhibit AS    _), she asked him
              about it.


   3. Why I did not have on safety gloves:
        a. The TruHone HRSHoner Machine uses an oil base solution, that makes it hard
            to sharpen knives, due to the plastic handle knives, oil based solution, and the
            oil based soak safety glove; the going back and forth motion could cause the
            knife to slip and the machine could kick the knife back into me.
            (See Exhibit            lo) with these gloves on they can irritate the skin more
            and they are not oil resistant gloves.

   4. Being accused of things on a daily basis whenever Joe Moulton come into the knife
      room,
          a. Had me cleaning the new Knecht Knife Sharpening Machine every morning
             when 1got to work. My shift started at 5:00 a.m., but I would always have to
             start at 4:30 a.m. in order to clean machines before the hourly employees come
             to pick up or exchange knives. I asked Joe, "Why did I have to do so when
             there was a second shift and a third shift employee that comes in behind me."
             He told me, "Because I said so." The machine usually stop running around
             11:00 p.m. to 1:00 a.m. He would check the log book every morning to see if 1
              did so.


   5. One morning I cleaned the machine and I documented everything I did. As the knives
      came in, I loaded them into the machine and started it; Joe Moulton came in that
      morning looked at the machine and said, "It had not been cleaned." Auris Tousaint,
      another employee, told him that, "I did clean the machine." Joe Moulton made me
      clean the machine again while he stood right there and watched. (See Exhibit
          ' X3 )
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              .   c on

6. Mr. Moulton had John Lawrence come into the knife room several days to watch me
   throughout the day and report back to him my activities for that day. This happened
   for a period oftime.

7. Mr. Moulton told Mr. Jones one day not to load any knives in the machine to be
   sharpened, because I was going to do it all that day. But yet, Mr. Jones also works in
   the knife room. So Mr. Jones sat out in the hallway on a pallet of combo boxes most
   of the day.

8. Joe Moulton accused me of sharpening knives in the Tru-Hone Machine without water
   and wrote me up for it on May 29, 2015. Joe had not even seen me near the machine,
   because the machine was on. I had not been at work that long when Joe and John
   came in. John said he would check the pump. Joe told John, "No, Tony is going to do
   it." John works in the knife room at times anyway.

9. Joe accused me of not doing inventory for the week and when I did it, he complained
   about it not being right. But if someone else take inventory, whether it was right or
   wrong, it would be ok.

10. Joe Moulton tried to get John Lawrence, Kenneth Holmes, Shawn (last name
   unknown, but was a trainer), William Copeland (kill floor employee) to write false
   statements against me so he could write me up.

11. One day Joe called to the knife room and accused me of doing something with some
   4" knives he ordered for the kill floor that he could not use. So he was going to send
   them back. Joe did not believe me when I told him I did not have them. He then sent
   John Lawrence to the knife room and asked me about the knives. I told John that, "he
   and Joe broke the knives up and put them in the throw-away bin." Then John
   remembered and said, "Yea we sure did."

12.Mr. Moulton kept accusing us of not setting the knife machine right. So one day he
   came in to look at the machine and said it was not set right. So I told Joe to show me
   how he wanted it set. He looked at me and told me, "If I got to showyou how to set it,
   I don't need you." Another time he saw me writing the setting to the machine that he
   gave me in my note pad, he asked me what I was doing, I told him, "writing down the
   setting." He was standing by the table and said, "Ifyou can't remember that
   something must be wrong with you."

13. One Tuesday morning about 7:15 a.m., Mr. Moulton came into the knife room and
   asked me for the inventory sheet I did on Saturday. I told him that I gave it to John
   Lawrence on Monday. Mr, Moulton told me I probably didn't do it. So when John
   came in the knife room, Joe asked him did I do it. John said, "Yes he did. It's in your
   office.


14.1 think that Mr. Moulton would come into the knife room to harass me or try to
   provoke me into saying or doing something to fire me, but I would not.
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                       3.      WORKER ENDANGEMENT

   1. Due to the fact that I was written up on January 16,2015 for a safety violation
      according to Mr. Joe Moulton, Mr. Moulton did not research the situation, but still
      made the knife room employees use the safety gloves. Those gloves are not oil
      resistant gloves. The gloves pose a threat of safety endangerment to the workers.
      Those gloves are for line workers that use the knives and even they wear latex
      gloves over them.

   2. On May 29,2015,1 was taken to Human Resources and written up, because Joe
      said I was using the TruHone Machine without water. This was not the case at all,
      the machine was on, but no one was using it. The third shift employee was the last
      one to use it. 1 had not been at work that long that morning, when we went to
      Angela Giscombe's office. 1 had to sit there and listen to him lie on me. 1 kept
      telling Angela, "It was not true." She said, "IfJoe said it, I did it," I could do
      nothing, but break down and cry, I got up and went back to the knife room, still
      crying. John Lawrence and Thomas Hardy saw me and followed me back to the
      knife room. 1was breathing so hard that Thomas Hardy used his supervisor's radio
      to call the nurses over to the knife room. My chest was hurting, so bad and my
      heart was beating rather fast. The nurses put a pulse ox meter on my finger and
      kept talking to me and telling me to calm down because my heart rate was over 200
      bpm and climbing. They took me to the clinic, where they gave me two freeze
      pops to get my body temperature down some because of the heat. After about an
      hour or two hours, they let me go home. I was hyperventilating. I was told by a
      nurse supervisor at Southampton Memorial Hospital in Franklin, VA that it was
      dangerous to my health.

   3. On Saturday, April 25, 2015 as I was going to punch in for work to do inventory,
      the cat walk had only one light on. 1did report it, because 1 could have fallen
      down the stairs. (See Exhibit   hi           )

   4. On April 24, 2015 1was written up for not wearing some scratched up safety
      glasses that Joe Moulton had given me to wear. I could not see well at all through
      them. He told me to go to the maintenance store room to get a new pair and if
      there were any question to say he sent me down there. (See Exhibit //A/A. )
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                                  4' DISCRIMINATION

  1. Mr. Jones, John Lawrence, Joe Moulton, Chris (The trainer) George (a trainer), and
     more have all violated a safety rule that I have seen with my own eyes and even in
     front of Joe Moulton; and nothing was done about it.

     a. January 16, 2015 - Joe Moulton had no safety gloves on while taking out old
          knives from the bin.


     b. April 25,2015 - John Lawrence was putting a number on the whizard knives
        without safety gloves, the knives had blades in them.

     c. Joe Moulton entered the knife room without safety glasses; he realized it and
          left after 5 minutes.


     d. John Lawrence entered the knife room without safety glasses and stated that he
        could not see well with those safety glasses over his eyeglasses. After all this, I
        am the only one who got wrote up and terminated. Supervisor Paulette Wiggins
        got cut working on the line without a chain glove and some others, but yet, they
        still got jobs at Smithfield North Plant.

     e. Mr. Moulton replaced me with Mr. Jones 29 or 30 year old man, who knew
        much of nothing about the knife room, was put on first shift. As of today, he is
        still in the knife room working, I believe, on the second shift. Mr. Moulton
        even had the nerve to ask Mr. Jones, in my presence, "Did he want a job in the
          knife room?" Mr. Jones said, "Yes," because he didn't want to go back to the
          kill floor.


     f.   Mr. Moulton came in the knife room and told us that we could not use our cell
          phone. It is what we have been doing for years, because we were under
          management and we were authorized by the company to do so. Using the cell
          phone was our way of communicating with each other throughout the plant.
          Yet when he made this rule, John Lawrence, who was an hourly employee, and
          other trainers, were still using their cell phones throughout the plant. (See
          Exhibit      - E i. )

     g. On April 22, 2015, my personal possessions and company items were removed
        from my locker, but yet, John Lawrence things was in locker on April 23, 2015
          (See Exhibit ^2          ); and a parts locker also had not been cleaned out. (See
          Exhibit             ) These lockers were not cleaned, but my locker was.
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                                 5"v   RETALIATION

1 believe I was terminated because of retaliation, due to fact I filed harassment claims and or
charges against the company, Smithfield Foods North Plant. About 2 weeks after I was no
longer represented by Bertini & Hammer, PC, I was terminated and nothing took place that
day. Joe Moulton wanted me to sign a paper in August 3, 2015 and I did not sign it. He gave
it to me on Monday before lunch and said he wanted to read it and sign it. I read it in front of
him and told him that I wasn't going to sign it, because it had nothing to do with me.
(SeeExhibit D -           )
